UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                          :
UNITED STATES OF AMERICA,                                 :
                                                          :
                                        Plaintiff,        :
                                                          :               21-CR-379 (VSB)
                      -against-                           :
                                                          :                    ORDER
CARLOS ORENSE AZOCAR                                      :
                                                          :
                                        Defendant. :
----------------------------------------------------------:

                                                        X

VERNON S. BRODERICK, United States District Judge:

        I am in receipt of an email from Matthew Russell Lee of Inner City Press requesting that

I unseal the financial affidavit and information of Defendant, Carlos Orense Azocar, dated June

27, 2022. Accordingly, it is hereby:

        ORDERED that the parties respond to the request, attached herewith, on or before July 7,

2022.


SO ORDERED.

Dated: July 5, 2022
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
                      Inner City Press
June 27, 2022
By E-mail to chambers
Hon. Vernon S. Broderick, United States District Judge
Southern District of New York, 40 Foley Square, New York, NY 10007
Re: Press request to unseal the financial affidavit and information of Carlos Orense
Azocar, charged with narco-trafficking, US v. Azocar, 21-cr-379 (VSB)
Dear Judge Broderick:
  On behalf of Inner City Press and in my personal capacity, I have been covering
the above-captioned case and related cases, regarding narco-trafficking in
Venezuela and elsewhere.
 This concerns last week's Magistrates Court proceeding in which Carlos Orense
Azocar was appointed (publicly-paid) counsel, based on a financial affidavit that
you reviewed and on which you made a judicial determination (of appointing
counsel). This defendant is reported to have substantial resources.
  Given that the financial affidavits of SDNY defendants Michael Avenatti and
(former) Doctor Cruciani have been ordered unsealed, by District Judges Furman
and Cronan respectively, and most recently that of narco trafficking defendant Juan
Carlos Bonilla Valladares by Magistrate Judge Katharine H. Parker in response to
a similar Inner City Press request, this is a request that the information of be
unsealed. See 20-mj-4462, Docket Number 7 (May 12, 2022)
""Juan Carlos Bonilla Valladares (“Defendant”) was arrested on a Complaint
issued from this District and presented before me on May 11, 2022. At the
proceeding, I reviewed a Financial Affidavit submitted by the Defendant that
purported to describe the Defendant’s financial circumstances. (ECF No. 4.) Based
on the Financial Affidavit, I determined that the Defendant qualified for court-
appointed counsel pursuant to the Criminal Justice Act (“CJA”), 18 U.S. Code §
3006A. (ECF No. 5.) The Financial Affidavit was filed under seal. On May 11,
2022, Matthew Russell Lee (“Lee”), a reporter with Inner City Press, filed a letter
intervening on behalf of the public and requesting that the Financial Affidavit be
unsealed. (ECF No. 6.) FN: As a public journalist, Lee has standing to intervene in
this matter and assert the public’s First Amendment right to access judicial
documents. Id. at 44, n.2; see also United States v. Aref, 533 F.3d 72, 81 (2d Cir.
Inner City Press: In-house SDNY: Room 480, 500 Pearl Street, NY NY 10007
E-mail: Matthew.Lee@innercitypress.com - Tel: 718-716-3540
Regular Mail: Dag Hammarskjold Center, Box 20047, New York, NY 10017
2008) (holding that a motion to intervene to assert the public's First Amendment
right of access to criminal proceedings is proper). Lee argued that the First
Amendment to the United States Constitution guarantees the public a right to
access judicial documents such as the Financial Affidavit, and that unsealing the
Financial Affidavit is consistent with precedent in this Circuit. On May 12, 2022, I
ordered the Defendant and the Government to file any responses to Lee’s request
by May 20, 2022. Neither party filed a response. For the reasons that follow, I
find that the Financial Affidavit should be unsealed.
DISCUSSION The First Amendment provides the public with a qualified right to
access a wide variety of judicial documents filed in connection with criminal
proceedings. United States v. Avenatti, 550 F. Supp. 3d 36, 44 (S.D.N.Y. 2021)
(collecting cases).1 That right applies to financial affidavits such as the one at
issue. Id. at 46 (finding that there is a “qualified First Amendment right of access
to [a] Financial Affidavit[]”submitted to assist the court in determining whether a
defendant is eligible for court-appointed counsel); see also United States v. Suarez,
880 F.2d 626, 629 (2d Cir. 1989) (finding that there is a First Amendment right to
access “CJA forms on which judicial officers have approved payments to
attorneys”). Where, as here, the “First Amendment framework applies, continued
sealing of the document[] may be justified only with specific, on-the-record
findings that sealing is necessary to preserve higher values and only if the sealing
order is narrowly tailored to achieve that aim.” Lugosch v. Pyramid Co. of
Onondaga, 435 F.3d 110, 119 (2d Cir. 2006). As there are no “on-the-record
findings that sealing is necessary,” and insofar as no objections to unsealing have
been made, continued sealing of the Financial Affidavit is not appropriate. Id.; see
also Avenatti, 550 F. Supp. 3d at 46 (granting request to unseal defendant’s
financial affidavit).
CONCLUSION For the reasons set forth above, Lee’s request to unseal the
Financial Affidavit (ECF No. 6) is GRANTED. The clerk of the court is directed
to unseal the document at issue (ECF No. 4)."
The same should happen here, forthwith.
  If necessary: Inner City Press and I oppose the sealing, as we have in other
SDNY cases. See, e.g., NY Law Journal, July 27, 2021, "Judge Orders Release of
Michael Avenatti's Financial Affidavits In Stormy Daniels Theft Case," "Journalist
Matthew Russell Lee of Inner City Press had intervened, advocating for the
affidavits' release," https://www.law.com/newyorklawjournal/2021/07/27/judge-

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orders-release-of-michael-avenattis-financial-affidavits-in-stormy-daniels-theft-
case/
  This is a Press request that the filings be unsealed consistent with Lugosch v.
Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006) and other applicable case
law. This is a request that this opposition to sealing be docketed as, for example,
took place in US v. Avenatti, 19-cr-374 (JMF), Dkt 85, see
https://storage.courtlistener.com/recap/gov.uscourts.nysd.516151/gov.uscourts.nys
d.516151.85.0.pdf See also, US v. Cruciani, 21-cr-636 (JPC), Dkt No. 40 (Inner
City Press request) and 41 (ruling to unseal).
The First Amendment to the U.S. Constitution guarantees to the public a right of
access to court proceedings. U.S. CONST. AMEND. I; Globe Newspaper Co. v.
Superior Court, 457 U.S. 596, 603 (1982). The public’s right of access is strongest
when it comes to criminal proceedings such as these, which are matters of the
“high[est] concern and importance to the people.” Richmond Newspapers, Inc. v.
Virginia, 448 U.S. 555, 575 (1980) (plurality opinion).
 If deemed necessary, PLEASE TAKE NOTICE that Inner City Press and its
undersigned reporter, in personal capacity, will move this Court before Honorable
Vernon S. Broderick, U.S. District Judge for the Southern District of New York, at
a date and time directed by the Court, for entry of an order granting permission to
the heard on unsealing the defendant's submissions in this case.
Non-parties such as Inner City Press and myself have standing to intervene in
criminal proceedings to assert the public’s right of access. United States v. Aref,
533 F.3d 72, 81 (2d Cir. 2008).
Please confirm receipt and docket this filing - or, in the alternative, add me as a
filer to the case.
After submitting this request by email to Magistrate Judge Valerie Figueredo's
Chambers on June 23, it was requested to be filed on ECF:
"From: Figueredo NYSD Chambers
Date: Fri, Jun 24, 2022 at 8:54 AM
Subject: RE: Press request to unseal the financial affidavit and information of
Carlos Orense Azocar, charged with narco-trafficking, US v. Azocar, 21-cr-379
To: Matthew R. Lee
Mr. Lee,

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Please file your request through ECF for United States v. Azocar, 21-cr-379.
Thanks.
Chambers of the Hon. Valerie Figueredo
U.S. District Court for the Southern District of New York"
  After taking several steps, I stand ready to file it as a letter or motion on ECF.
But as requested earlier this afternoon to the Magistrate Judge, I would need to be
added as a filer to the case, in order to file it myself. If any further information is
needed, please contact the undersigned at matthew.lee@innercitypress.com or 718-
716-3540.
Respectfully submitted,
Matthew Russell Lee, Inner City Press
cc: Jason Errol Foy (jfoy@foyseplowitz.com); AUSA Wirshba




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